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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   Civil Action No. 17-cv-1661-WJM-MEH
   Consolidated with 17-cv-1679-WJM-MEH

   KYLE ZEPPELIN; BRAD EVANS; CHRISTINE O’CONNOR; KIMBERLY MORSE;
   JACQUELINE LANSING; JANET FEDER;

   and

   SIERRA CLUB; ELYRIA AND SWANSEA NEIGHBORHOOD ASSOCIATION; CHAFFEE
   PARK NEIGHBORHOOD ASSOCIATION; and COLORADO LATINO FORUM,

   Plaintiffs,

   v.

   FEDERAL HIGHWAY ADMINISTRATION, ELAINE CHAO, in her official capacity as
   Secretary of Transportation; and JOHN M. CARTER, in his official capacity as Division
   Administrator, Defendants,

   v.

   COLORADO DEPARTMENT OF TRANSPORTATION, and SHAILEN P. BHATT, in his
   official capacity as Executive Director of the Colorado Department of Transportation,

   Defendant-Intervenors.
     SIERRA CLUB PETITIONERS’ MOTION FOR STAY OF AGENCY ACTION PENDING
                           REVIEW ON THE MERITS
                                  (Case No. 17-cv-1679-WJM-MEH)

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                                      GLOSSARY OF TERMS
   APA: Administrative Procedures Act

   CAA: Clean Air Act

   CDOT: Colorado Department of Transportation

   DEIS: Draft Environmental Impact Statement

   FEIS or Final EIS: Final Environmental Impact Statement

   F-AHA: Federal Aid Highway Act

   FHWA: Federal Highway Administration

   MSAT: Mobile Source Air Toxics

   NEPA: National Environmental Policy Act

   NO2: Nitrogen Dioxide

   PCL: Partial Cover Lowered

   PM: Particulate Matter

   PM2.5: fine particles 2.5 µm or smaller that penetrate into the lungs

   PM10: thoracic particles 10 µm or smaller that penetrate into the lungs

   ROD: Record of Decision

   SDEIS or Supplemental DEIS: Supplemental Draft Environmental Impact Statement
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                                                 INTRODUCTION

              The Sierra Club, Elyria Swansea Neighborhood Association, Chaffee Park Neighborhood

   Association, and Colorado Latino Forum (“Petitioners”) move to stay the Federal Highway

   Administration’s (“FHWA”) Record of Decision (“ROD”) for the I-70 Central Project, Phase 1

   (“Project”) to protect their members who reside or send their children to schools near the Project

   from adverse health effects of increased pollution. In addition to I-70’s ongoing motor vehicle

   emissions, when construction activities commence in 2018, harmful air pollutant emissions will

   increase, which will expose them to significant increased risks of asthma onset, asthma attacks,

   bronchitis, cancer, premature death from cardiovascular disease, and other harmful health

   effects.

              A stay will preserve $1.175 billion of public resources from unlawful expenditure.

   Petitioners are likely to prevail on one or more claims that Project approval violates the National

   Environmental Policy Act (“NEPA”), Federal-Aid Highway Act (“F-AHA”) and Clean Air Act

   (“CAA”). Defendants’ NEPA violations include: failing to evaluate and disclose significant

   adverse human health impacts from exposing residents and children attending schools in the

   Project area to increased concentrations of particulate matter and other air pollutants and failing

   to compare the preferred alternative’s adverse health impacts with reasonable alternatives that

   would minimize adverse community health impacts by reducing exposures to harmful pollutants.

              Defendants’ failure to assess human health impacts from Project emissions violates

   F-AHA requirements to identify “possible adverse…environmental effects relating to [the]

   proposed project” from “air pollution,” determine the “costs of eliminating or minimizing such




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   adverse effects,” and weigh such adverse effects and costs to make “final decisions on the

   project…in the best overall public interest.” 23 U.S.C. §109(h).

            Defendants’ CAA conformity determination violates EPA’s criteria and procedures and

   withhold evidence that Project emissions violate EPA’s conformity test from the public and

   decisionmaker.

            Petitioners seek a stay, pursuant to Section 705 of the Administrative Procedures Act

   (“APA”), to “postpone the effective date of [the] agency action [and] preserve status or rights

   pending conclusion of review proceedings.” 5 U.S.C. § 705. A stay will avoid irreparable harm

   to human health, and preserve Project funds to evaluate NEPA-required alternatives that “restore

   and enhance” the human environment and address F-AHA-required mitigation that “eliminate[s]

   or minimize[s]” harm to public health from Project air pollution.

                                                 I.   BACKGROUND

            In the 1960s, when I-70 was constructed over 46th Avenue through North Denver

   neighborhoods, research into the health effects of air pollution was in its infancy, Congress had

   enacted an incipient version of the CAA after California promulgated the first-ever motor vehicle

   tailpipe standards, and NEPA had yet to be suggested. Highways were built without regard for

   public health consequences from exposure to highway pollution.

            A. EPA Finds Highway Pollutants Cause Premature Death, Debilitating Diseases,
               and Impair Childhood Development.

            A half century of global research into the health effects of air pollution has identified the

   hazards of exposure to highway air pollution. In 2016, the United States Environmental

   Protection Agency (“EPA”) summarized the evidence of health effects from exposure to

   pollutants commonly emitted from motor vehicles, including PM2.5 (fine particles 2.5 µm or

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   smaller), PM10 (thoracic particles 10 µm or smaller), nitrous oxides (including NO2), and air

   toxics.

             1. Pollutants with established National Ambient Air Quality Standards (“NAAQs”):

                     a. Particulate Matter (“PM”)

             EPA concluded that:

             a “causal relationship exists” between both long- and short-term exposures to PM2.5 and
             premature mortality and cardiovascular effects and that “a causal relationship is likely to
             exist” between long- and short-term PM2.5 exposures and respiratory effects. Further,
             there is evidence “suggestive of a causal relationship” between long-term PM2.5
             exposures and other health effects, including developmental and reproductive effects
             (e.g., low birth weight, infant mortality) and carcinogenic, mutagenic, and genotoxic
             effects (e.g., lung cancer mortality).
             ….
             [T]he available scientific evidence significantly strengthens the link between long- and
             short-term exposure to PM2.5 and mortality, while providing indications that the
             magnitude of the PM2.5-mortality association with long-term exposures may be larger
             than previously estimated. The strongest evidence comes from recent studies
             investigating long-term exposure to PM2.5 and cardiovascular-related mortality. The
             evidence supporting a causal relationship between long-term PM2.5 exposure and
             mortality also includes consideration of studies that demonstrated an improvement in
             community health following reductions in ambient fine particles.
             ….
             [E]pidemiological studies…provide strong evidence of respiratory-related morbidity
             effects associated with long-term PM2.5 exposure. The strongest evidence for
             respiratory-related effects is from studies that evaluated decrements in lung function
             growth (in children), increased respiratory symptoms, and asthma development. The
             strongest evidence from short-term PM2.5 exposure studies has been observed for
             increased respiratory-related emergency department visits and hospital admissions for
             chronic obstructive pulmonary disease (COPD) and respiratory infections.

   81 Fed. Reg. 73,478, 73,836-37 (Oct. 25, 2016) (setting heavy-duty vehicle standards).

             EPA linked the strongest effects of tailpipe emissions (mostly from heavy-duty trucks

   and construction equipment) and dust particles kicked up by earthmoving equipment to short-

   term exposures (i.e., a few days or less) to particles smaller than 10µm that penetrate the upper

   respiratory tract. As of 2009, available evidence:

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            was “suggestive of a causal relationship” between short-term exposures to PM10-2.5 and
            cardiovascular effects (e.g., hospital admissions and Emergency Department (ED) visits,
            changes in cardiovascular function), respiratory effects (e.g., ED visits and hospital
            admissions, increase in markers of pulmonary inflammation), and premature mortality.

   Id. at 73,837.

                 b. Nitrogen Oxides (a byproduct of fossil fuel combustion in engines)

            EPA found that:

            The 2016 ISA for Oxides of Nitrogen concluded that people with asthma, children, and
            older adults are at increased risk for NO2-related health effects. In these groups and
            lifestages, NO2 is consistently related to larger effects on outcomes related to asthma
            exacerbation, for which there is confidence in the relationship with NO2 exposure.

   Id. at 73,839.

            2.   Vehicle emission pollutants without established NAAQS:

            EPA found that:

            Heavy-duty vehicle emissions contribute to ambient levels of air toxics that are known or
            suspected human or animal carcinogens, or that have noncancer health effects. The
            population experiences an elevated risk of cancer and other noncancer health effects from
            exposure to the class of pollutants known collectively as “air toxics.” These compounds
            include, but are not limited to, benzene, 1,3-butadiene, formaldehyde, acetaldehyde,
            acrolein, polycyclic organic matter, and naphthalene. These compounds were identified
            as national or regional risk drivers or contributors in the 2011 National-scale Air Toxics
            Assessment and have significant inventory contributions from mobile sources.

   Id. at 73,841.

            3. CAA Conformity Rule:

            To ensure that federal transportation investments do not contribute to NAAQS violations,

   Congress amended the CAA in 1977 to prohibit federal funding for activities that do not conform

   to a State Implementation Plan. Congress strengthened this requirement in 1990, prohibiting

   federal support for transportation projects unless it can be determined that emissions “will not

   …cause or contribute to any new violation of any standard in any area….” 42 U.S.C. §7506

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   (c)(1)(B)(i). Congress also directed EPA to “promulgate, and periodically update, criteria and

   procedures for demonstrating and assuring conformity in the case of transportation plans,

   programs, and projects.” Id. at §7506(c)(4)(B).

            EPA’s initial conformity rule required quantitative modeling analysis of highway project

   emissions for carbon monoxide and PM10. 58 Fed. Reg. 62,189, 62,212 (Nov. 24, 1993).

   Following promulgation of the PM2.5 NAAQS, EPA also required that highway projects model

   for PM2.5, because “studies provide strong evidence of elevated PM2.5 concentrations along

   roadways” with “elevated PM2.5 concentrations of 8% to 60% for high-traffic roadways to

   285% for major truck stops, compared to background concentrations.” 71 Fed. Reg. 12,468,

   12,472 (Mar. 10, 2006).

            In 2013, EPA determined that incremental exposure to PM2.5 near highways requires a

   “network of near-road compliance PM2.5 monitors [ ] to provide characterization of

   concentrations in near-road environments including for comparison to the NAAQS.” 78 Fed.

   Reg. 3086, 3238 (Jan. 15, 2013). Colorado installed a near-road PM2.5 monitor in Globeville

   east of I-25, 4 blocks north of I-70. Annual mean concentrations at this monitor are 9.3 µg/m3 or

   above, compared to 8 µg/m3 or less at regional monitors not near an interstate highway. See

   Declaration of Dr. George Thurston, Attach. A (monitoring data) (Exhibit 12).

            B. FHWA’s Environmental Review Failed to Consider Health Impacts.

            FHWA’s review of the Colorado Department of Transportation’s (“CDOT”) proposal to

   widen I-70’s viaduct from 6 to 10 lanes, plus shoulder lanes, began over a decade ago. Starting

   with the 2008 Draft Environmental Impact Statement (“DEIS”), FHWA/CDOT received

   extensive and detailed public comment identifying their failure to consider the Project’s human


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   health impacts. FHWA/CDOT never addressed these issues fully or adequately. The ROD is

   replete with such concerns, some of which are noted below.

            In 2009, the Sturm College of Law’s Environmental Law Clinic (“Clinic”) filed extensive

   comments challenging the DEIS’s failure to address adverse community health impacts:

            There is now compelling and unambiguous scientific evidence that demonstrates that
            diverse air pollutants from trucks and motor vehicles (including diesel particulate matter,
            fine and ultrafine particulate matter) cause an increased risk of asthma, heart disease and
            cancer in those living immediately adjacent to interstate highways.

            The DEIS fails to adequately analyze, using readily available data and methodologies, a
            key environmental harm - increased mortality and morbidity in those who live, work,
            travel and recreate on or immediately adjacent to the [Project].1

   The Clinic asked FHWA/CDOT to identify the exposed population, estimate likely effects of

   exposure to Project emissions using available emission models and quantitative risk tools, and

   rely on studies assessing health effects from exposure to the full array of pollutants in the

   complex pollution mixture emitted from highways. 2

            In 2014, FHWA proposed lowering 1.8 miles of the expanded highway between Brighton

   and Colorado Boulevards, covering 900 feet of this 9,500-foot trench, and blowing concentrated,

   untreated pollutants from each end of the cover into the ambient air. 3 Supplemental Draft EIS

   (“SDEIS”). The cover’s west end would be located across the side street from Swansea

   Elementary School’s playground. The SDEIS included required air quality modeling analyses for

   carbon monoxide and PM10 to demonstrate CAA conformity4, but included no quantitative


   1 Sturm College of Law Environmental Law Clinic Comment on DEIS (Comment No. 133) at

   16-17 (Exhibit 18).
   2 Id. at 18-19.
   3 2014 Supplemental Draft EIS (“SDEIS”), attached as Excerpts from the Agency Record

   (“EAR”) at EAR 0029-37.
   4 Id. at EAR 0042


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  analysis of community exposures to the full array of Project pollutants. 5 Nor did it quantify

  community health impacts and compare health benefits for Project alternatives. 6

           Sierra Club asked the agencies to address community exposures 7, attaching a link to the

  City of Denver’s 2014 Health Impact Assessment of these neighborhoods. 8 The DEH Report

  showed roughly 50% greater cardiovascular mortality in the four City Council Districts along I-

  70 than in other Denver neighborhoods. As to Elyria/Swansea and Globeville, the report shows

  significantly more pediatric emergency room visits for asthma than in other Denver

  neighborhoods; 40% higher in Elyria/Swansea (38.6 vs. 28.5 admissions/1,000) and 20% higher

  in Globeville.9

           Sierra Club asserted this evidence required “a health impact assessment” that addresses

  health impacts of increased pollutant exposures,” because “these residents are currently

  experiencing serious adverse effects of current pollutant exposures.”

           The higher pollutant exposures expected from increasing traffic by 30% … in these
           neighborhoods will significantly further degrade the health status of these communities.
           Sacrificing the health of children and increasing years of life lost to build a regional
           transportation facility is not an acceptable public policy. 10

  Sierra Club also asked FHWA/CDOT to:

           investigate and identify alternatives and/or mitigation measures that can enhance the
           human environment by reducing community exposure to harmful air pollutants, and



  5 Id. at EAR 0038
  6 Id.
  7 Sierra Club Comments on SDEIS (“Sierra Club Comments”), at EAR 0224-226.
  8 Denver Department of Environmental Health, Health Impact Assessment, “How Neighborhood

  Planning Affects Health in Globeville and Elyria Swansea,” (Sept. 2014) (“DEH Report”), Fig. 6
  at 16 (Exhibit 1).
  9 Id., Fig. 7 at 16.
  10 Sierra Club Comments, at EAR 0222-223.


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           avoid the adverse health effects that will result from increasing exposure to these
           pollutants that will result if traffic in the corridor is allowed to increase by 30%. 11

           The Final EIS (“FEIS”) acknowledged DEH’s finding that “[h]ighway traffic is the main

  source of air pollution in the [Globeville, Elyria, Swansea] communities,”12 without discussing

  how additional pollution would impair neighborhood health. FHWA/CDOT neither dispute that

  emissions from the interstates are linked to increased cardiovascular mortality and childhood

  asthma, nor do they claim these adverse health effects are insignificant impacts. Instead,

  FHWA/CDOT ignored the data, making no assessment of health risks posed by pollutant

  exposures or the health benefits of four proposed alternatives.13

           All alternatives proposed to reduce exposures were rejected, but none were evaluated for

  their health benefits: (1) the Law Clinic’s proposed full-length cover with pollutant removal; (2)

  re-route I-70 onto the I-76/I-270 alignments; (3) prohibiting truck traffic to remove nearly half of

  the emissions from the proposed expansion; or (4) relocation assistance for high-risk residents

  within I-70’s health hazard zone. Traffic modeling for the re-route alternative showed only

  50,000 and 65,000 vehicles/day would use 46th Avenue instead of 177,000 on existing I-70 or

  230,000 on a future expanded I-70.14 This analysis provides compelling evidence that the re-

  route would reduce emissions by 65% to 80% in Globeville and Elyria-Swansea, thereby

  providing significant air quality and health benefits to neighborhoods along I-70. But

  FHWA/CDOT never used these data to estimate lives saved, children protected from asthma,



  11 DEH Report, Ex. 1, at 2.
  12 FEIS at EAR 0078.
  13 Id. at EAR 0077, 0083-85.
  14 ROD, Attach. C-1 Revised Elimination of I-270/I-76 Reroute Alternative Technical

  Memorandum, at EAR 0276.

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  asthma attacks avoided or any other health indicators that could be used to compare the health

  impacts of the re-route alternatives.

           The FEIS includes a section titled “Human Health Conditions,” but discussion is limited

  to air quality modeling for carbon monoxide and PM10:

           [T]he No-Action Alternative and the Build Alternatives will not cause or contribute to
           any new localized carbon monoxide or particulate matter violations, nor will they
           increase the frequency or severity of any existing violations based on the hotspot
           analysis. Therefore, no specific mitigation measures are necessary for the project to
           proceed.15

  FHWA/CDOT did not assess community health impacts, claiming health effects are uncertain

  and mobile source air toxic (“MSAT”) emissions are declining. 16 The ROD discusses expected

  MSAT reductions, but never acknowledges the health consequences of significantly increased

  PM emissions.17

           FHWA/CDOT’s claim of scientific uncertainty is based on a selected fraction of outdated

  research.18 FHWA/CDOT ignored EPA’s review of all data available through 2010, on which it

  based its conclusion that asthma, cardiovascular disease and premature mortality are caused by

  exposure to PM2.5. The Sierra Club objected to cherry-picking inconclusive data from the vast

  body of scientific research, while ignoring highly confident results and a large volume of post-

  2011 research:

           The agency’s duty under the law is to consider all the evidence relevant to its obligations
           under NEPA and section 109(h). Probative evidence cannot simply be ignored. Cotter v.
           Harris, 642 F.2d 700, 706-07 (3rd Cir. 198[1]); See [v.] Washington Metro. Transit
           Auth., 36 F.3d 375, 384 (D.C. Cir, 1994). Reasoned decisionmaking requires that “the
           agency must examine the relevant data.” Motor Vehicle Mfrs. Assn. v. State Farm Mut.,

  15 FEIS at EAR 0067.
  16 Id. at EAR 0068, 0077.
  17 ROD at EAR 0259.
  18 FEIS, Attach. J, Air Quality Technical Report, at EAR 0094-96.


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          463 U.S. 29, 43 (1983). FHWA’s failure to consider evidence relevant to its duties under
          NEPA, i.e., the obligation to consider alternatives and mitigation that can minimize the
          adverse impacts of highway pollution on community health, is arbitrary and capricious. 19

  FHWA/CDOT offered no explanation for their limited review of outdated studies, or apparent

  decision to ignore findings in EPA’s Integrated Science Assessments and EPA’s scientific record

  used to review the PM and NOx NAAQS. Furthermore, the published, peer-reviewed studies

  cited by Dr. Thurston in his declaration, Exhibit 28, were relevant and available to

  FHWA/CDOT.

          Sierra Club also objected to FHWA/CDOT’s extremely narrow definition of purpose and

  need, defined primarily as reducing congestion on I-70, as a strategy for unlawfully excluding

  “off-corridor” alternatives to avoid consideration of health benefits from alternatives such as

  expanding I-270, thereby defeating NEPA’s purpose to protect health and the F-AHA’s policy

  “to encourage and promote … transportation systems that will serve mobility needs … while

  minimizing … air pollution.” 23 U.S.C. § 134 (a)(1).20

                                                 II.   ARGUMENT
          A. Standard of Review

          Courts review motions to stay agency actions and motions for preliminary injunction

  under the same standard. E.g., Hill Dermaceuticals, Inc. v. U.S. FDA, 524 F. Supp. 2d 5, 8

  (D.D.C. 2007).

          A plaintiff seeking a preliminary injunction must establish that he is likely to succeed on
          the merits, that he is likely to suffer irreparable harm in the absence of preliminary relief,
          that the balance of equities tips in his favor, and that an injunction is in the public
          interest.



  19 Sierra Club Comments, ROD, Attach. E, at EAR 0326.
  20 Id. at EAR 0327-331.


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  San Luis Valley Ecosystem Council v. U.S. Fish & Wildlife Serv., 657 F. Supp. 2d 1233, 1239

  (D. Colo. 2009) (citing Winter v. Natural Resources Defense Council, 555 U.S. 7, 20 (2008)). A

  court may “preserve the status quo pending a judicious, calm and orderly judicial determination

  of [a] judiciable problem. That is the classic office of a preliminary injunction.” United States v.

  Moore, 427 F.2d 1020, 1024 (10th Cir. 1970).

          B. Standing

          Petitioners have standing to invoke this Court’s jurisdiction to challenge FHWA’s ROD

  approving the Project because pollution emitted from construction and increased highway traffic

  after construction will “invade a legally protected interest,” causing injury “which is (a) concrete

  and particularized and (b) actual or imminent, not conjectural or hypothetical.” Lujan v.

  Defenders of Wildlife, 504 U.S. 555, 560 (1992). Petitioners’ members will suffer injury (1) from

  exposure to increased pollution levels that will occur when construction begins, and when more

  traffic is added after construction completes; (2) that is directly traceable to FHWA’s action

  issuing the ROD; and (3) will be prevented if FHWA’s ROD is vacated, thereby barring

  construction until FHWA issues a fully adequate EIS that complies with NEPA and F-AHA.

          In support of standing and this motion for stay, to establish that Petitioners and their

  members will suffer irreparable harm if Project construction is not stayed, Petitioners submit and

  incorporate the following declarations:


                •   Nine members of Petitioner organizations, Exhibits 19–27;

                •   Dr. George D. Thurston, Professor of Environmental Medicine and Population

                    Health and Director of the Program in Human Exposures and Health Effects,




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                    New York University School of Medicine, and former member of EPA’s Clean

                    Air Science Advisory Committee, Exhibit 28.

          Petitioners' members’ declarations establish that they or their family members currently

  suffer from the diseases of air pollution—some requiring medication—or are in a class of highly

  sensitive persons known to be at high risk of injury from the diseases of air pollution. They

  explain why they are likely to suffer additional harm, such as increasing incidence or severity of

  asthma attacks, if they are exposed to increased levels of pollution from construction activities.

  See Lovato, Hernandez, Elliott, Sanchez, Dutcher, Roybal, and Espino Declarations, Exhibits

  19–25. Anticipating these effects, Declarants expect to be trapped inside their homes during the

  4-5 years of construction, unable to enjoy their children or grandchildren who will not be able to

  play outside during family gatherings, and unable to participate in outdoor activities, such as

  exercise or gardening. Id. Some Declarants also describe why the measures planned for

  mitigation of construction emissions described in the FEIS are not likely to prevent harm. For

  example, Declarants residing just beyond the one block zone where CDOT promises to install

  indoor storm windows and air conditioners will receive no protective measures. Cram and

  Sanchez Declarations, Exhibits 23 and 25.

          Dr. Thurston reviews the published peer-reviewed evidence of the health effects of air

  pollution to show that increasing public exposure to the harmful pollutants emitted during

  construction and from traffic on the highway after construction, will increase the risk of harm

  from the diseases of air pollution and the incidence of such diseases in exposed populations. He

  explains that such harm can occur at concentrations allowed by the NAAQS under the CAA, and

  that the difference in exposures measured by the concentrations reported at the Globeville

  monitor near I-70 are consistent with the increased incidence of mortality from cardiovascular

  disease and hospitalization for treatment of childhood asthma reported by DEH in its assessment

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  of community health. 21 He concludes that increased exposure to fugitive dust during construction

  will harm Petitioners’ health.

          C. Petitioners Will Suffer Irreparable Harm.

          Petitioners will suffer harm if construction begins because: (1) members and their

  families will suffer adverse health effects from exposure to additional concentrations of harmful

  pollutants; and (2) CDOT will irretrievably commit limited resources needed for any meaningful

  consideration of alternatives.

      1. Petitioners’ Health Will Suffer Increased Harm During Construction.

          Beginning with the initiation of construction, the health of Petitioners and their families

  living adjacent to I-70’s construction zone will be harmed from exposure to elevated

  concentrations of harmful pollutants. According to FHWA/CDOT, construction involves

  demolishing the existing 85’ wide viaduct, replacing it with a 280’ wide right-of-way containing

  12 paved lanes (10 travel lanes and two shoulder lanes) and interchange access ramps, and

  excavating a 1.8-mile trench between Brighton and Colorado Boulevards up to 40 feet deep 22

  through soils known to contain multiple hazardous waste disposal sites.23 If construction

  proceeds, Petitioners’ members and families living in the Project area will suffer increased

  asthma attacks and risk of cardiovascular disease—diseases that EPA has found to be caused by

  motor vehicle pollutants.

          Project construction will require operation of heavy-duty, diesel powered construction

  equipment, e.g., front loaders, excavators, heavy-duty haul trucks, cement mixers, and asphalt


  21 DEH Report, Ex. 1, at 15-16.
  22 ROD at EAR 0248-251.
  23 Id. at EAR 0257.


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  spreaders, for 4-5 years.24 FHWA admits that emissions of harmful pollutants, including PM10,

  PM2.5, NOx, SO2, and MSATs emitted in diesel exhaust, will increase during construction.25

          a. Increased Exposure to Pollutants in Construction Emissions Will Harm
          Petitioners’ Members’ Health.

          FHWA does not dispute that exposures to equipment exhaust and airborne dust will

  increase during the 4-5 years when construction emissions are added to traffic pollution.

  Elevated exposures to the array of pollutants emitted from construction activities will increase

  adverse health outcomes from air pollution, whether or not the NAAQS are maintained.

  Dr. George Thurston, explains research evidence showing that adverse health effects occur at

  concentrations below the levels established in the NAAQS. See Declaration of Dr. George

  Thurston (Exhibit 28). Dr. Thurston identifies three primary reasons why NAAQS fail to protect

  against health effects caused by exposures to these pollutants even at concentrations allowed by

  the NAAQS.

          First, for PM2.5, Dr. Thurston explains EPA acknowledged in its last NAAQS revision

  that it did not set the standard at a level to protect against all mortality risks. EPA’s analysis of

  health effects data found that mortality declined as PM2.5 concentrations were reduced, but

  significant mortality would occur below the NAAQS level. Based on EPA’s mortality risk curve,

  Dr. Thurston concludes that significant mortality is expected at levels below the NAAQS, and

  that mortality can be reduced by reducing PM2.5 concentrations. Dr. Thurston found that the

  higher measured concentrations of PM2.5 at the Globeville monitor (just north of I-70, east of I-


  24 Fact Sheet,” Construction and Community Access,” https://codot.gov/projects/i70east/fact-

  sheets-8-2.16/construction-and-community-access_03-09-17.pdf, last accessed November 5,
  2017 (Exhibit 29).
  25 ROD, at EAR 257; FEIS Attach. J at EAR 089-93.


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  25), compared to concentrations measured at other metro region monitors, are consistent with the

  higher incidence of cardiovascular mortality reported by DEH in Council Districts 1, 8, 9 and 11,

  where I-70 and I-25 are located, compared to other Denver Council Districts not situated near

  such high traffic highways. Based on the mortality risk curve that EPA derived from the data,

  Dr. Thurston concludes that increasing PM2.5 exposures from construction above current

  baseline levels will increase the expected incidence of mortality, asthma onset and asthma

  episodes requiring emergency treatment. Conversely, he concludes that removing traffic from

  these neighborhoods will reduce exposures and the incidence of adverse health outcomes caused

  by exposure to highway pollutants.

          Second, Dr. Thurston points to evidence that adverse health outcomes in neighborhoods

  closely proximity to highways are produced by simultaneous exposure to the full array of

  pollutants comprising the complex mixture of highway emissions. The CAA requires each

  NAAQS to protect against known effects of exposure to a single pollutant. The CAA does not

  require that NAAQS account for, and protect against, exposure to the multiple pollutant mixtures

  emitted from highways that cause both cumulative and synergistic effects on human health.

          Third, Dr. Thurston notes that the scientific understanding of health effects caused by PM

  has advanced significantly since 2009, when EPA identified the mortality risk curve. The

  severity and statistical significance of the health consequences of pollutant exposures that are

  now well understood, were not yet identified in 2009, and could not be considered or prevented

  by EPA’s decision to strengthen the annual PM2.5 NAAQS from 15 to 12 µg/m3.

          Pollutant concentrations allowed by the NAAQS are not “safe” or risk free. The residual

  health risks experienced by communities exposed to unique localized pollutant mixtures cannot


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  be prevented through national single pollutant standards, but can be accounted for on a case-by-

  case basis when project impacts are properly evaluated under NEPA.

           In addition, Dr. Thurston reviewed the data showing levels at which coarse particles have

  been found to cause harm, and concluded that baseline levels currently monitored in Globeville

  are above the known threshold of harm and that increased exposure to particles during

  construction will worsen health of residents in the neighborhoods affected by the Project.

           b. Construction Dust (PM10) Threatens Health.

           Heavy-duty diesel equipment will excavate, lift and haul 3.9 million cubic yards of

  material, including soil from the trench and debris from demolishing the existing viaduct. 26 In

  comments on the SDEIS, Denver City Auditor Dennis Gallagher stated that excavating the 1.8

  mile trench will require removing 1.7 million cubic yards, equating to 85,000 round trips by

  heavy-duty haul trucks, each carrying 20 cubic yards of material. 27 Moving 3.9 million cubic

  yards of excavated soils and debris will require 195,000 round trips by haul trucks through

  nearby neighborhoods to as yet undesignated disposal sites.

           FHWA/CDOT acknowledge that PM emissions from airborne soil particles will increase

  during construction.28 Soil particles contaminated with toxic metals will be released when 750

  acres at 34 known hazardous materials sites are disturbed within the Project’s construction

  footprint.29 Soils testing at a few scattered locations within this footprint found high

  concentrations of lead, arsenic and cadmium. 30 When these waste sites are excavated, loaded


  26 Denver Auditor Dennis Gallagher Comments on SDEIS, at EAR 0189.
  27 Id.
  28 ROD, at EAR 0256.
  29 Id., Attach. C-4, Table 4, at EAR 0291.
  30 FEIS, at EAR 0056.


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  onto trucks and hauled through nearby neighborhoods, airborne dust will expose residents and

  school children to toxic contaminants.

          FHWA/CDOT recognized that construction dust is a significant health threat deserving

  “special consideration” because of

          the potential effects on people within or near a major construction project such as I-70
          East. Dust particles can be so small that they pass through the nasal cavity and into the
          lungs to cause damage. Also, toxic and cancer-causing chemicals can attach to dust and
          produce much more profound effects when inhaled. 31

  To avoid exacerbating the effects of toxic particles, Denver Mayor, Michael Hancock, and others

  asked FHWA/CDOT to require testing to detect “toxic metals content as related to contaminants

  of concern from hazardous materials disturbed within the project footprint,” using “suitable air

  monitoring” for “particulate matter with speciation for toxic materials encountered during

  construction.”32 Mayor Hancock, and neighborhood associations asked FHWA/CDOT to:

          Sample for lead, cadmium and arsenic in the construction zone. If the daily
          average air samples exceed 1.5 microgram/m3 for lead, work stops and work
          practices should be altered to minimize dust. An action level for arsenic should be
          defined as well.33,

  In addition, they asked that homes in the two rows nearest to the highway be tested for

  lead, and “if dust levels are above HUD residential standards, test next row of homes to

  identify how far the lead dust travelled.” 34 To protect public health, Mayor Hancock asked

  that homes “contaminated with lead dust should be cleaned to below lead dust clearance




  31 FEIS, at EAR 0054.
  32 Denver Mayor Hancock Comments on SDEIS, at EAR 0164.
  33 Id., Globeville, Elyria, Swansea Organizers Group Comments on SDEIS, at EAR 0206.
  34 Denver Mayor Hancock Comments on SDEIS, at EAR 0164. Globeville, Elyria Swansea

  Organizers Group Comments on SDEIS, at EAR 0206.

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  standards as per state regulation.” 35 FHWA/CDOT refused, agreeing only to: “collect

  representative soil samples of three or four recently cleaned-up residential properties…to

  test for lead and arsenic to ensure that the properties aren’t re-contaminated due to

  construction activities.”36

           Despite admitting that “[c]onstruction activities may release hazardous materials at these

  sites into soil or groundwater or result in exposure to these materials by workers or the public,” 37

  FHWA did not require CDOT to monitor for significant public health risks, or to implement

  mitigation measures that ensure protection from “profound effects” caused by inhaling toxic

  contaminants. FHWA/CDOT promise to “[p]repare and implement a project-specific Health and

  Safety Plan and Materials Management Plan,” to “consist of specific measures to protect worker

  and public health and safety,”38 But the promise to develop a plan provides no assurance that the

  plan, once developed, will ensure adequate protection for the public. The promised plan does not

  require CDOT to test soils for dangerous deposits of lead, cadmium or arsenic, monitor air for

  these metals, adopt action levels based on thresholds needed to protect community health rather

  than worker health, trigger protective actions when contaminants are identified, or prescribe

  mitigation measures certain to stop contaminants from becoming airborne.

           No specific mitigation measures are prescribed if monitored PM10 levels exceed the

  NAAQS.




  35 Id.
  36 Response to City of Denver Comments on SDEIS, at EAR 0164; IMP6 of the

  Frequently Received Comments and Responses on the [SDEIS], at EAR 0112.
  37 ROD Attach. C-4 at EAR 0290.
  38 FEIS at EAR 0289.


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          Dr. Thurston’s declaration summarizing the effects of exposure to PM10, establishes that

  “adverse health risks caused by exposure to PM and the mixture of gaseous and vapor co-

  pollutants from traffic-related sources will increase if exposures to these pollutants are

  increased,” and “increasing exposures to PM10 and PM2.5 at levels below the NAAQS will

  increase both the incidence of asthma attacks and asthma onset in the community, increase

  personal risk for those already diagnosed with asthma, and increase risk of suffering acute effects

  and mortality from cardiovascular disease.” 39 Dr. Thurston explains that exposures to levels

  below the NAAQS harm health, and exposure to increased concentrations resulting from

  construction will increase risk and harm even if the NAAQS are met. FHWA/CDOT have

  committed to monitor air quality during construction at the Swansea Elementary School, but they

  have not committed to action levels that protect against increases in exposure above baseline

  levels below the NAAQS, nor have they committed to taking any protective actions to prevent

  exposures that will exceed the NAAQS.

          Because FHWA has not required CDOT to monitor wherever construction activities are

  being implemented, has not prescribed action levels, and has not ensured that significant

  increases in exposure to PM10 will be prevented, Petitioners’ members will be exposed to

  periodic increases in PM10 that will harm their health. In addition, FHWA’s failure to require

  soils testing for lead, cadmium and arsenic before excavation or to conduct air-monitoring when

  moving contaminated soils, or to implement mitigation measures that provide adequate

  protection from toxins in PM10, will subject Petitioners’ and their families to significantly




  39 Declaration of Dr. George D. Thurston, Exhibit 28, at 18.


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  increased health risks over at least four to five years from exposure to fugitive dust, with the

  impacts continuing thereafter.

           c. Unmitigated PM2.5 and NOx Emissions from Construction Equipment Threaten
           Health.

           Sierra Club asked CDOT/FHWA to model emissions from heavy-duty diesel equipment

  to “investigate and disclose likely violations of the NAAQS for PM-10, PM2.5 and NO2 caused

  by those pollutants emitted from heavy equipment and traffic during construction.”40 Petitioners

  requested that FHWA/CDOT investigate adverse effects from construction equipment emissions

  to obtain information needed to determine specific mitigation to minimize known health hazards

  of diesel engine pollutants.41 Elevated exposure to diesel pollutants during 4-5 years of

  construction will exacerbate existing adverse community health impacts, including the effects of

  historical long-term exposure to highway pollutants.

           In its 2016 rulemaking to limit heavy-duty vehicle emissions, EPA summarized the

  health effects evidence from exposure to diesel pollution, finding that:

           Diesel exhaust consists of a complex mixture composed of particulate matter, carbon
           dioxide, oxygen, nitrogen, water vapor, carbon monoxide, nitrogen compounds, sulfur
           compounds and numerous low-molecular-weight hydrocarbons. A number of these
           gaseous hydrocarbon components are individually known to be toxic, including
           aldehydes, benzene and 1,3-butadiene. The diesel particulate matter present in diesel
           exhaust consists mostly of fine particles (<2.5 [mu]m), of which a significant fraction is
           ultrafine particles (<0.1 [mu]m). These particles have a large surface area which makes
           them an excellent medium for adsorbing organics, and their small size makes them highly
           respirable. Many of the organic compounds present in the gases and on the particles, such
           as polycyclic organic matter, are individually known to have mutagenic and carcinogenic
           properties.




  40 Sierra Club Comments, at EAR 0222.
  41 Id.


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  81 Fed. Reg. 73,477, 73,840 (Oct. 25, 2016). See Background, supra, for EPA’s summary of

  health effects associated with these pollutants.

           Since most particulate matter emitted from diesel vehicles and equipment are “fine

  particles,” increased PM exposure during 4-5 years of construction will cause significant

  community health consequences. In addition, EPA recognizes that exposure to toxic air

  pollutants emitted from diesel exhaust causes human cancer:

           …the World Health Organization's International Agency for Research on Cancer (IARC),
           a recognized international authority on the carcinogenic potential of chemicals and other
           agents, evaluated the full range of cancer-related health effects data for diesel engine
           exhaust. IARC concluded that diesel exhaust should be regarded as “carcinogenic to
           humans.”

  Id. at 73,841.

           d. FHWA Failed to Mitigate PM2.5 Adequately to Protect Health.
           To ensure the public is adequately protected from pollutants in equipment exhaust and

  airborne construction dust, Petitioners specifically requested that FHWA/CDOT use EPA’s latest

  air quality modeling tools to estimate non-road emissions for construction equipment. 42 Denver

  also requested that FHWA/CDOT monitor air quality for MSATs.43

           FHWA/CDOT refused both requests, responding that the Project’s contractor will

  “perform air monitoring for PM10…to assess construction effects on air quality and

  ensure that construction work is not producing unhealthy levels of dust in the adjacent

  community.”44

           “[A]ssessing[ing] construction effects on air quality” by monitoring does not

  prevent harmful exposures. It simply shows when harmful exposures have occurred, after


  42 Id. at EAR 0235.
  43 City of Denver SDEIS Comments, at EAR 0128.
  44 Id.


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  the harm is done. Modeling construction pollution identifies activities that may cause

  unacceptable health risks before they occur, and allows agencies and the public to

  implement proactive measures to ensure that harm does not occur.

          Monitoring for PM10 provides no assessment of harmful exposures to the other

  pollutants in diesel exhaust (e.g., PM2.5, NOx, mobile source air toxics), or to toxic

  metals dredged up from hazardous waste disposal sites.

          Absent committed mitigation measures that actually avoid increased exposure to PM and

  toxic metals, Petitioners’ members living adjacent to the construction zone will certainly suffer

  harm to health. The FEIS is devoid of commitments to take specific actions to “avoid” increased

  exposure to pollutants emitted during construction. To avoid harm, construction must not be

  allowed to commence before a fully adequate EIS is completed.

      2. Petitioners Will Suffer Irreparable Harm If Limited Resources are Irretrievably
         Committed.

          Petitioners’ interests in a clean and healthful environment will be harmed irreparably if

  CDOT signs design-build contracts that commit vast, yet finite, resources, without first

  evaluating how increased pollutant exposures will harm community health, and without

  considering how alternatives that avoid or reduce harm could benefit community health.

          FHWA and CDOT plan to execute a Project Agreement, pursuant to 23 U.S.C.

  §106(a)(2), to fund Project construction. A signed Agreement obligates federal funds. Id.,

  §106(a)(3). See Vermont v. Goldschmidt, 638 F.2d 482, 483 (2d Cir. 1980); Arizona v. United

  States, 494 F.2d 1285, 1287 (Ct. Cl. 1974). Then the Project can be put to bid, contracts signed,

  and construction commenced. Resources allocated to this corridor will then be unavailable for

  Project alternatives and/or mitigation (or for needs elsewhere in Colorado) if this Court later


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  determines that the ROD was issued improperly before full consideration of alternatives to

  reduce harmful exposures.

          Colorado has finite resources for transportation projects. CDOT’s traffic modeling of the

  re-route alternative strongly suggests that a comprehensive assessment of the health risks caused

  by exposure to highway pollution will show that the I-270 alternative to widening I-70 will

  achieve significant health benefits. Consideration of that option would be effectively foreclosed

  if design-build contracts have been signed committing $1.175 billion to widen I-70, and a large

  fraction of that resource is spent before this Court finally adjudicates Petitioners’ claims. Those

  funds would no longer be available for alternatives or mitigation measures that could eliminate

  or minimize public health risks. Stop H-3 Ass’n v. Volpe, 353 F. Supp. 14, 16 (D. Haw. 1972)

  (halting highway construction and project expenditures pending NEPA review to ensure project

  is not a “fait accompli”).45 Maintaining the status quo is less expensive and less wasteful than

  starting construction only to decide later that it is not “in the best overall public interest” under

  23 U.S.C. § 109(h) after all the relevant factors are considered.




  45 See Sierra Club v. Babbitt, 69 F. Supp. 2d 1202, 1262 (E.D. Cal. 1999) (enjoining activity on

  one segment road, noting that work on that segment had not yet started and potentially severe
  environmental impacts); New York v. Kleppe, 429 U.S. 1307, 1312 (1976) (“It is axiomatic that if
  the Government, without preparing an adequate impact statement, were to make an ‘irreversible
  commitment of resources,’ a citizen’s right to have environmental factors taken into account by
  the decisionmaker would be irreparably impaired.”); Sierra Club v. Marsh, 872 F.2d 497, 500
  (1st Cir. 1989) (Breyer, J.) (noting “the practical fact that bureaucratic decisionmakers (when the
  law permits) are less likely to tear down a nearly completed project than a barely started
  project”); Lathan v. Volpe, 350 F. Supp. 262, 266 (W.D. Wash. 1972) (preparing SEIS after
  construction of extra lanes is “locking the barn door after the horses are stolen”); Arlington
  Coalition on Transp. v. Volpe, 458 F.2d 1323, 1327 (4th Cir. 1972) (“Further investment of time,
  effort, or money in the proposed route would make alteration or abandonment of the route
  increasingly less wise and, therefore, increasingly unlikely.”).

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          Irreparable injury will result if construction is substantially completed during these

  proceedings because claims would become moot, or effective relief unavailable. “A stay is

  issued to maintain the status quo where otherwise, absent the stay, there is a substantial

  likelihood that the basis for the appeal will be mooted by the operation of the injunction.” Stop

  H-3, 353 F. Supp. at 16 (9th Cir. 1951). Maintaining the status quo is essential so that the serious

  issues raised in this litigation are not rendered moot or beyond effective relief.

          D. Petitioners Will Likely Prevail on the Merits.

          Petitioners are likely to succeed on at least these two of their 17 claims: FHWA’s failure

  to (1) assess adverse health impacts from exposure to highway pollution, compare health impacts

  of alternatives and consider mitigation that could restore healthier air quality, or avoid or

  minimize additional harm to community health; and (2) identify mitigation sufficient to

  “eliminate[e] or minimiz[e]” such adverse health impacts and weigh the cost of those measures

  in making the “public interest” determination required by F-AHA.

          1.       FHWA/CDOT Unlawfully Refused to Address Health Effects of Increased
                   Exposure to PM2.5 and PM10 and Overall Exposure to All Pollutants
                   Emitted from Highways (Including CO, NO2 and MSATs).

          Evidence of the disproportionate incidence of diseases of air pollution in Council

  Districts where I-70 is located, as reported by DEH, demonstrates that a significant adverse

  impact on human health is occurring in the neighborhoods affected by I-70 emissions. FHWA

  acknowledge in the Air Quality Technical Report, FEIS Attachment J, that exposure to fugitive

  dust will increase 43% by 2035 as a result of the Project, 46 tailpipe emissions of PM10 will




  46 FEIS, at EAR 0110.


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  increase 10% between 2015 and 2035, 47 and the PM10 air quality modeling analysis shows that

  increasing Project emissions will add at least 41 µg/m3, from 113 µg/m3 to 154 µg/m3.48 Carbon

  monoxide emissions will increase by 14% by 2035. 49

          Dr. Thurston presents substantial evidence that Project emissions will cause long-lasting,

  irreparable injury to community health, both from increased exposure to harmful pollutants

  during construction and from continuing or increased exposure to PM over the life of the Project.

  He concludes that current exposures are consistent with harm reported by DEH, and that

  increased exposures will increase risks of developing asthma, more frequent asthma attacks, and

  risks that older residents will suffer increased coronary heart disease, cancer and premature

  mortality. His review of the relevant evidence demonstrates irreparable harm to the health of

  those who live or attend school next to a heavily traveled highway.

          Protecting health is a relevant factor under NEPA. NEPA declares a healthful

  environment to be a national policy objective: “The Congress recognizes that each person should

  enjoy a healthful environment ….” 42 U.S.C. §4331(c). NEPA commits federal agencies to use

  their powers and resources to protect health:

          In order to carry out the policy set forth in this chapter, it is the continuing responsibility
          of the Federal Government to use all practicable means, consistent with other essential
          considerations of national policy, to improve and coordinate Federal plans, functions,
          programs, and resources to the end that the Nation may-
                  ….
                  (2) assure for all Americans safe, healthful … surroundings;
                  (3) attain the widest range of beneficial uses of the environment without
          degradation, risk to health or safety, or other undesirable and unintended consequences
          ….


  47 Id., Table 23, at EAR 0106.
  48 ROD, Attach. C7, Table 2, at EAR 0304
  49 FEIS, Fig. 22, at EAR 0109


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  42 USC §4331(b) (emphasis added).

          Harm to health is a significant environmental impact. Effects on health are the kinds of

  effects that must be disclosed under NEPA. 40 C.F.R. §1508.8(b)(“effects includes …

  health….”); §1508.27(b)(2)(“Significantly as used in NEPA” includes “the degree to which the

  proposed action affects public health….”).

          This Project and its Alternatives must be compared based on their impacts, including

  health, “thus sharply defining the issues and providing a clear basis for choice among

  options….” §1502.14. “NEPA ensures that the agency will not act on incomplete information,

  only to regret its decision after it is too late to correct.” Marsh v. Ore. Nat. Res. Council, 490

  U.S. 360, 371 (1989).

          FHWA’ deprives the decisionmaker and the public of the information needed to

  understand the full consequences of expanding I-70 by failing to use available modeling tools to

  (1) quantify the increased mortality and years of life lost from cardiovascular disease and cancer;

  (2) estimate the number of children who will suffer the lifelong consequences of impaired lung

  development and asthma; (3) consider the medical costs to families that will suffer these

  diseases; (4) evaluate how these diseases interfere with the education of children and contribute

  to lost income that results from missing school; and (5) compare those impacts with alternatives

  that can minimize harm or restore air quality and enhance health. Those consequences were

  neither understood nor considered when I-70 was built 50 years ago.

          “NEPA’s ‘twin aims’ require a federal agency ‘to consider every significant aspect of the

  environmental impact of a proposed action,’ and to ‘inform the public that it has indeed

  considered environmental concerns in its decision-making process.’” Rags Over the Arkansas v.


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  BLM, 77 F. Supp. 3d 1038, 1047 (D. Colo. 2015). FHWA/CDOT’s failure to consider health

  impacts “defeat[s] [NEPA’s] goals of informed decision making and informed public comment.”

  Id. at 1048 (citation omitted).

          An EIS is inadequate if the agency has not “adequately considered and disclosed the

  environmental impact of its actions.” Utah Shared Access Alliance v. U.S. Forest Serv., 288 F.3d

  1205, 1208 (10th Cir.2002)(quoting Baltimore Gas & Elec. Co. v. Natural Res. Def. Council,

  462 U.S. 87, 97-98 (1983)). Here, FHWA/CDOT’s actions are arbitrary and capricious because

  they failed to consider the life and death consequences for nearby neighborhoods and vulnerable

  populations.

          Courts enjoin highway projects when health impacts are not considered: a project can be

  enjoined because “[t]he impact statement inadequately describe[d] the detrimental effects of air

  pollution on people (e.g. residents and drivers) in the vicinity of the corridor….” Lathan v.

  Volpe, 350 F. Supp. 262, 266 (W.D. Wash. 1972), aff’d in relevant part, vacated in part, 506

  F.2d 677 (9th Cir. 1974) (en banc); Keith v. Cal. Highway Comm’n, 506 F.2d 696, 697-698 (9th

  Cir. 1974) (enjoined until agency adequately considered air pollution impacts on public health);

  City of S. Pasadena v. Slater, 56 F. Supp. 2d 1106, 1143 (C.D. Cal. 1999) (enjoined due to

  “possibility … [of] significant air quality impacts which ha[d] yet to be appropriately

  considered”).

          NEPA demands that FHWA/CDOT use the best science to characterize impacts to

  identify alternatives or mitigation measures that would avoid or minimize health risks, while

  satisfying transportation needs. The scientific evidence that EPA discussed regarding PM2.5

  shows health effects occur below levels prohibited by the NAAQS. FHWA/CDOT may not


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  assert NAAQS compliance as an alternative to considering the adverse health impacts that EPA

  acknowledges, and the health effects science demonstrates, is occurring in communities exposed

  to highway pollution. NEPA charges decisionmakers with responsibility for investigating

  residual environmental effects “where…emissions…complied with Clean Air Act standards but,

  collectively, they significantly impacted the environment.” Wildearth Guardians v. O.S.M.R.E.,

  104 F. Supp. 3d 1208, 1227 (D. Colo. 2015). “[U]nder NEPA, federal agencies must take a hard

  look at the environmental impacts of a proposed action even if the action is compliant with other

  laws and regulations.” Id. at 1229. Here, NEPA requires that FHWA understand and disclose

  how many will die or suffer lifelong diseases from pollution levels not prohibited by NAAQS.

  This evidence must then be assessed to carefully weigh alternatives to seek ways of avoiding or

  minimizing these public health consequences. FHWA has completely disregarded this awesome

  responsibility.

          That analytical tools cannot provide precise estimates of expected mortality and

  morbidity is not grounds for shirking this statutory responsibility. “Reasonable forecasting and

  speculation is thus implicit in NEPA, and [courts] must reject any attempt by agencies to shirk

  their responsibilities under NEPA by labeling any and all discussion…as ‘crystal ball inquiry.’”

  Scientists’ Inst. for Pub. Info. v. Atomic Energy Comm’n, 481 F.2d 1079, 1092 (D.C. Cir. 1973).

          “[D]egradation in air quality is indeed something that must be addressed in an EIS if it is

  ‘reasonably foreseeable.’” Mid States Coalition for Progress v. Surface Transp. Bd., 345 F.3d

  520, 549 (8th Cir. 2003). “[W]hen the nature of the effect is reasonably foreseeable but its extent

  is not, we think that the agency may not simply ignore the effect.” Id. (emphasis in original).




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  Here, EPA’s summary of health effects caused by highway pollutants leaves no ambiguity that

  the nature of the effect is supported by strong evidence and is not highly uncertain:

                   •“a causal relationship exists between short-term exposures to PM2.5 and
                   mortality.”
                   •“a causal relationship exists between long-term exposures to PM2.5 and
                   mortality.”
                   •“a causal relationship exists between short-term exposures to PM2.5 and
                   cardiovascular effects.”
                   •“a causal relationship exists between long-term exposures to PM2.5 and
                   cardiovascular effects.” 50

          Uncertainty is limited to the extent of public exposure for each alternative, not its nature.

  NEPA directs FHWA/CDOT to apply the best scientific tools available, such as EPA’s MOVES

  emissions model, to estimate public exposure. 40 C.F.R. §1500.1 (“accurate scientific analysis

  is…critical”); §1502.24. The inability to predict exposure with precision does not authorize

  FHWA/CDOT to “completely ignore[] the effects” of project emissions on public health. See id.

  at 550. Cf. Pub. Citizen v. Dep’t of Transp., 316 F.3d 1002, 1024 (9th Cir. 2003)(requiring

  consideration of health threats posed by diesel exhaust), reversed on other grounds, 124 S. Ct.

  2204 (2004).

          In National Parks & Conservation Ass’n v. Babbitt, 241 F.3d 722, 739 (9th Cir. 2001),

  consideration of degradation of air quality was required before allowing increased ship traffic in

  Glacier Bay, where the exact nature of future effects was uncertain, “when the proposed project

  may significantly degrade some human environmental factor, injunctive relief is appropriate.”

  Id. at 737. Here, too, equitable relief is needed where degradation of human health is a




  50 Integrated Science Assessment for Particulate Matter (U.S. EPA, December 2009), at 2-10, 2-

  11, 2-12 (bold in original), Exhibit 30.

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  significant impact, but remains unevaluated, and FHWA/CDOT have not evaluated alternatives

  that could restore and enhance human health for those benefits.

          2.       FHWA/CDOT Failed to Satisfy the F-AHA’s Substantive Requirements.

          The F-AHA and its implementing regulations require a three-step evaluation of air

  quality impacts and mitigation measures to ensure that “final decisions on the project are made in

  the best overall public interest.” 23 U.S.C. §109(h). FHWA must determine the “possible adverse

  economic, social and environmental effects relating to any proposed project;” determine “the

  costs of eliminating or minimizing such adverse effects and … (1) air…pollution;” and weigh

  “the costs of eliminating or minimizing such adverse effects” together with “the need for fast,

  safe and efficient transportation” to make a final decision on the project “in the best overall

  public interest.” Id. FHWA’s implementing regulations require that measures necessary to

  mitigate adverse effects be incorporated into the project. 23 C.F.R. §771.105(d).

          The Project ROD asserts baldly “that possible adverse economic, social, and

  environmental effects related to the I-70 East Project were fully considered.”51 But the ROD fails

  to include consideration of the possible adverse effects on health and the mitigation needed to

  eliminate these effects.

          Adverse impacts on public health is relevant to determining whether the Project is “in the

  best overall public interest.” “Whatever else it may mean, however, we think the public interest

  indisputably includes the public health. There is perhaps a broader public consensus on that

  value, and also on its core meaning, than on any other likely component of the public interest.”

  Bahnzaf v. F.C.C., 405 F.2d 1082, 1097 (D.C. Cir. 1968).


  51 ROD, at EAR 0245-246.


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          The FEIS contains no consideration of the potentially severe adverse health effects of

  PM2.5, or the health consequences of increasing PM10 exposure to levels a fraction of 1 µg/m3

  shy of the NAAQS, not to speak of the social and economic costs of not eliminating or

  minimizing adverse health effects of these pollutants. This record is devoid of any explanation of

  how FHWA struck the balance between eliminating adverse health effects and the benefits of

  improved mobility. Without explaining its decision, the record is a void. “[T]he Court may not

  ‘defer to a void.’” Wildearth Guardians, at 1219 (citation omitted).

          F-AHA §109(h) calls for investigation of “possible adverse…environmental effects,”

  including “air pollution.” 23 U.S.C. § 109(h) (2004) (emphasis added). This analysis

  necessitates “the gathering and evaluation of evidence on potential pollution hazards.” D.C.

  Fed’n of Civic Ass’ns v. Volpe, 459 F.2d 1231, 1242 (D.C. Cir. 1971). EPA’s analysis of health

  effects linked to PM2.5 in its Integrated Science Assessment (finding that cardiovascular disease

  and mortality are caused by PM2.5) and its decision to make the NAAQS more protective and

  require near-road monitors to ensure NAAQS compliance near highways, provide “evidence on

  potential pollution hazards” relevant under §109(h). Pollution hazards are not restricted to certain

  pollutants. The Court rejected the contention “that certain hazards are, as a matter of law,

  immaterial to the Secretary's evaluation of a project's safety.” D.C. Fed’n, 459 F.2d at 1242.

          The EIS does not consider, or explain, how FHWA considered “the costs of eliminating

  or minimizing” the adverse effects of air pollution. Without such analysis, FHWA could not

  determine that the Project is “in the best overall public interest,” nor could it incorporate

  “measures necessary to mitigate adverse impacts.” 23 U.S.C. §109(h) (2004); 23 C.F.R.

  §771.105(d) (2004). A court may affirm an agency's decision only “on the grounds articulated by


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  the agency itself.” Olenhouse v. Commodity Credit Corp., 42 F.3d 1560, 1565 (10th Cir. 1994).

  Where neither the FEIS nor the ROD articulate the grounds for the public interest determination,

  the determination has no legally sufficient basis in the record.

          Courts “‘set aside an agency action if … the agency has … ignored factors that must be

  taken into account under any [governing] source of law.’” Cerrillo-Perez v. INS, 809 F.2d 1419,

  1422 (9th Cir. 1987) (quoting A Rest. of Scope-of-Review Doctrine, 38 Admin. L. Rev. 235, 235

  (1986))(some alterations in original); Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto Ins.

  Co., 463 U.S. 29, 43 (1983); Environmental Defense Fund, Inc. v. EPA, 898 F.2d 183, 188 (D.C.

  Cir. 1990) (agency decision remanded for failure to address statutory factors). FHWA/CDOT has

  not considered the relevant factors defined in the F-AHA.

          E.       The Balance Of Hardships Favors Petitioners.

          “Environmental injury, by its nature, can seldom be adequately remedied by money

  damages and is often permanent or at least of long duration, i.e. irreparable. If such injury is

  sufficiently likely, therefore, the balance of harms will usually favor the issuance of an injunction

  to protect the environment.” Amoco Prod. Co. v. Village of Gambell, 480 U.S. 531, 545 (1987).

  Post-Amoco cases have usually enjoined actions when environmental injury is likely. See Nat’l

  Parks & Conservation Ass’n v. Babbitt, 241 F.3d 722, 737 (9th Cir. 2001).

          When decisionmakers are not adequately informed of the consequences of their actions,

  an injunction is necessary to ensure NEPA is implemented. Id., at 738 n. 18; City of S. Pasadena

  v. Slater, 56 F. Supp. 2d 1106, 1143 (C.D. Cal. 1999) (“Although an injunction is not automatic

  whenever the court identifies a NEPA violation, the Ninth Circuit has recognized that an

  injunction is the appropriate remedy absent unusual circumstances.”). Unusual circumstances


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  include interference with long-term contractual relationships or irreparable harm to the

  environment. Sierra Club v. Marsh, 816 F.2d 1376, 1384 n. 11 (9th Cir. 1987) (citing Amoco

  Prod. Co.). Neither of these circumstances is present here.

          Federal funds are not yet obligated until FHWA and CDOT sign a project agreement. 23

  U.S.C. §106(a). Construction contracts cannot be executed until a project agreement is signed.

  Funds expended to-date on rights-of-way do not tip this balance in favor of FHWA/CDOT. The

  government would now own property worth its fair market value. Keith v. California Highway

  Comm’n, 506 F.2d 696, 697-98 (9th Cir. 1974) (no loss from injunction since State acquired

  property having value equal to expenditures). Environmental harm outweighs the harm resulting

  from increased costs. City of South Pasadena, 56 F. Supp. 2d at 1143-44 (environmental harm

  from possible increase in air pollution outweighs harm from traffic delays). Puerto Rico

  Conservation Found. v. Larson, 797 F. Supp. 1066, 1072-73 (D.P.R. 1992) (costs were self-

  induced where construction commenced during litigation); Stop H-3 Ass’n v. Volpe, 353 F. Supp.

  14, 17 (1972) (enjoining highway despite delay costs).

          Threats to public health tip the balance of hardship towards a stay. Lopez v. Heckler, 713

  F.2d 1432, 1436-37 (9th Cir. 1983) (plaintiffs’ physical suffering outweighs administrative cost

  injury). Cost harms weigh in favor of expediting appeal, not ignoring the agencies’ statutory

  duties and allowing the project to proceed. Lathan v. Brinegar, 506 F.2d 677, 691 (9th Cir. 1974)

  (en banc).

          F.       Public Interest Favors a Stay.

          Public interest factors support an injunction. The Tenth Circuit requires an injunction

  when significant impacts of a highway project are not considered under NEPA: “the public


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  interest associated with completion of the Project must yield to the obligation to construct the

  Project in compliance with the relevant environmental laws.” Davis v. Mineta, 302 F.3d 1104,

  1116 (10th Cir. 2002). “[F]oremost consideration must be given to any demonstrable danger to

  the public health.” Reserve Mining Co. v. United States, 498 F.2d 1073, 1077 (8th Cir. 1974).

          The public interest can tolerate temporary disruptions in construction that an injunction

  may cause, but residents who suffer increased asthma attacks, children who develop asthma—a

  lifetime condition—and adults who suffer heart attacks or die from pollution exposures during or

  following construction will suffer irreparable harm. The costs of delay pale in comparison to the

  public’s right to a full, meaningful review of the Project’s health effects.

                                                 CONCLUSION

          For the reasons set forth above, Petitioners respectfully request that the Court stay

  FHWA’s ROD to protect the public health, preserve the status quo, and preserve the justiciability

  of Plaintiff’s claims pending a decision on the merits.

                                                         Respectfully submitted,

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              CERTIFICATE OF COMPLIANCE WITH D.COLO.LCivR 7.1(a)

         Pursuant to D.COLO.LCivR 7.1(a), undersigned counsel has conferred with counsel for
  FHWA, CDOT, and the in Civil Action No. 17-cv-01661-WYD (the “Zeppelin Plaintiffs”)
  regarding the substance of this motion. FHWA and CDOT oppose the relief requested herein.
  Zeppelin Plaintiffs do not oppose.

                                                               /s/ Gregory N. Corbin
                                                               Gregory N. Corbin

                                  CERTIFICATE OF SERVICE

          I hereby certify that on this 7th day of November, 2017, I filed a true and accurate copy
  of the foregoing with the Clerk of Court via the CM/ECF system, which provided immediate
  electronic notice of the same to all counsel of record, as indicated below.

                                                               /s/ Gregory N. Corbin
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